Case 2:23-cv-12886-SFC-EAS ECF No. 37-20, PagelD.1615 Filed 10/07/24 Page 1 of 4

Appendix T

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Prepared For

Personal & Confidential

Date Generated May 16, 2023
Report Number 0673-0083-19

About Dispute Results

Our reinvestigation of the dispute you recently submitted is now complete. If we were able to make
changes to your credit report based on information you provided, we have done so. Otherwise we
have contacted the company reporting the information you disputed, supplied them all relevant
information and any documents you gave us with your dispute, and instructed them to: review all
information we provide them about your dispute; verify the accuracy of the information; provide us a
response to your dispute; and update their records and systems as necessary.

If an item you disputed is not in the list of results below, it was either not appearing in your credit file
or it already reflected the requested status at the time of our reinvestigation.

Here are your results
JPMCB CARD 4)
Account * 464018XXXXXXXXXX

Information on this item has been updated. Please review your report for the details. Updated

You can contact JPMCB CARD at PO BOX 15369, WILMINGTON , DE 19850 or (800) 945-2000

4) After your dispute
Account Info

Account Name JPMCB CARD Balance $9,772
Account Number 46401 BXXXXXXXXXX Balance Updated 05/16/2023
Account Type Credit Card Recent Payment -
Responsibility Individual Monthly Payment -
Date Opened 02/03/2009 Original Balance $8,000
Status Account charged off. $9,772 Highest Balance $9,772
written off. $9,772 past due a
as of May 2023.
Status Updated 07/2021 On Record Until Sep 2027

($] Payment History

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60 Past due 60 days 90 Past due 90 days
120 Past due 120 days 150 Past due 150 days
180 Past due 180 days CO Charge off

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Payment history guide

Charge Off as of May 2023, Apr 2023, Mar 2023, Feb 2023, Jan 2023, Dec 2022, Nov 2022, Oct
2022, Sep 2022, Aug 2022, Jul 2022, Jun 2022, May 2022, Apr 2022, Mar 2022, Feb 2022, Jan 2022,
Dec 2021, Nov 2021, Oct 2021, Sep 2021, Aug 2021, Jul 2021

180 days past due as of Jun 2021
150 days past due as of May 2021
120 days past due as of Apr 2021
90 days past due as of Mar 2021
60 days past due as of Feb 2021
30 days past due as of Jan 2021

This account is scheduled to continue on record until Sep 2027.

Balance Histories
Date Balance Scheduled Payment Paid
Jun 2021 $9,772 $256 $0 on 11/17/2020
May 2021 $9,614 $283 $0 on 11/17/2020

Additional info
Between May 2021 and Jun 2021, your credit limit/high balance was $8,000

Contact Info

Address PO BOX 15369,
WILMINGTON DE 19850

Comment

Current:

Account closed at credit grantor's request.

Previous:

None

Reinvestigation Info

This item was updated from our processing of your dispute in

May 2023.
Before your dispute
Account Info
Account Name JPMCB CARD Balance $9,772
Account Number 46401 BXXXXXXXKXX Balance Updated 07/21/2021
Account Type Credit Card Recent Payment -
Responsibility Individual Monthly Payment -
Date Opened 02/03/2009 Original Balance $8,000
Status Account charged off. $9,772 Highest Balance $9,772
written off. $9,772 past due 1
as of Jul 2021. ~— .
Status Updated 07/2021 nee ee my eer
Payment History

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¥ Current / Terms met 30 Past due 30 days
60 Past due 60 days 90 Past due 90 days
120 Past due 120 days 150 Past due 150 days
180 Past due 180 days CO Charge off

Payment history guide
Charge Off as of Jul 2021

180 days past due as of Jun 2021
150 days past due as of May 2021
120 days past due as of Apr 2021
90 days past due as of Mar 2021

60 days past due as of Feb 2021
30 days past due as of Jan 2021

This account is scheduled to continue on record until Sep 2027.

Balance Histories

Date Balance Scheduled Payment Paid
Jun 2021 $9,772 $256 $0 on 11/17/2020
May 2021 $9,614 $283 $0 on 11/17/2020

Additional info
Between May 2021 and Jun 2021, your credit limit/high balance was $8,000

bd Contact Info

Address PO BOX 15369,
WILMINGTON DE 19850

Comment

Current:

None
Previous:

Account closed at credit grantor’s request.

Mar 2021 to Jun 2021

If the reinvestigation does not resolve your dispute, you have the right to add a
statement of up to 100 words to your file disputing the accuracy or
completeness of the information.

